JS 44C/SDNY
REV. 4/2014

PLAINTIFFS
Renee Melendez

CIVIL COVER SHEET

Case 1:15-cv-09326-WHP Document 2 Filed 11/25/15 Page 1 of 2

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of
pleadings or other papers as required by law, except as provided by local rules of court. This form, approved by the

Judicial Conference of the United States in September 1974, is required for use of the Clerk of Court for the purpose of

initiating the civil docket sheet.

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
Julia P. Kuan, Romano & Kuan, PLLC, 600 Fifth Avenue, 10th Floor, New
York, N.Y. 10020, (212) 763-5075

DEFENDANTS

NY Community Financial, LLC, Community Financial Service Center (CFSC),
The Check Casing Place, Anthony Guzzi, Michael Hoffer, Frank Phipps,
Maira Peralta, Marina B. Melvin, Daphne Rodriguez, City of New York, DI

ATTORNEYS (IF KNOWN)

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Defendants maliciously prosecuted plaintiff violating her 4th

and (4th

Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? NdZbesLIudge Previously Assigned

If yes, was this case Vol.[_] Invol. [_] Dismissed. No[_] Yes [1] _ If yes, give date

Is THIS AN INTERNATIONAL ARBITRATION CASE?

(PLACE AN [x] IN ONE BOX ONLY)

CONTRACT

[ ] 160
[ ) 190

{ ) 195

INSURANCE
MARINE

MILLER ACT
NEGOTIABLE
INSTRUMENT
RECOVERY OF
OVERPAYMENT &
ENFORCEMENT
OF JUDGMENT
MEDICARE ACT
RECOVERY OF
DEFAULTED
STUDENT LOANS
(EXCL VETERANS
RECOVERY OF
OVERPAYMENT
OF VETERAN'S
BENEFITS
STOCKHOLDERS
SUITS

OTHER
CONTRACT
CONTRACT
PRODUCT
LIABILITY

[ ] 196 FRANCHISE

REAL PROPERTY

[ 1210 LAND
CONDEMNATION

[ ]220 FORECLOSURE

[ ] 230 RENT LEASE &
EJECTMENT

1 | 240 TORTS TO LAND

| }245 TORT PRODUCT
LIABILITY

[ ]290 ALL OTHER
REAL PROPERTY

TORTS

PERSONAL INJURY

{ ]310 AIRPLANE

[ ]315 AIRPLANE PRODUCT
LIABILITY

[ ]320 ASSAULT, LIBEL &
SLANDER

[ ]330 FEDERAL
EMPLOYERS’
LIABILITY

[ ]340 MARINE

[ 1345 MARINE PRODUCT
LIABILITY

[ ]350 MOTOR VEHICLE

[ ]355 MOTOR VEHICLE
PRODUCT LIABILITY

[ ]360 OTHER PERSONAL
INJURY

[ ] 362 PERSONAL INJURY -
MED MALPRACTICE

ACTIONS UNDER STATUTES

CIVIL RIGHTS

[x] 440 OTHER CIVIL RIGHTS
{Non-Prisoner)

[ 1441 VOTING

[ |442 EMPLOYMENT

{ | 443 HOUSING/
ACCOMMODATIONS

[ ]445 AMERICANS WITH
DISABILITIES -
EMPLOYMENT

[ ]446 AMERICANS WITH
DISABILITIES -OTHER

[ ]448 EDUCATION

Check if demanded in complaint:

 

 

 

 

DEMAND $

CHECK IF THIS IS ACLASS ACTION
UNDER F.R.C.P. 23

OTHER

Check YES only ifdemanded in complaint
JURY DEMAND: &l Yes CNO

No [ |

Yes C]

NATURE OF SUIT

PERSONAL INJURY
[ ] 367 HEALTHCARE/

FORFEITURE/PENALTY

PHARMACEUTICAL PERSONAL [ ]625 DRUG RELATED

INJURY/PRODUCT LIABILITY
[ ]365 PERSONAL INJURY
PRODUCT LIABILITY

SEIZURE OF PROPERTY
21 USC 881

| 1368 ASBESTOS PERSONAL ! 1690 OTHER

INJURY PRODUCT
LIABILITY

PERSONAL PROPERTY

[ ]370 OTHER FRAUD
[ ] 371 TRUTH IN LENDING

[ ]880 OTHER PERSONAL
PROPERTY DAMAGE

| ]385 PROPERTY DAMAGE
PRODUCT LIABILITY

PRISONER PETITIONS

[ 1463 ALIEN DETAINEE

[ ]510 MOTIONS TO
VACATE SENTENCE
28 USC 2255

[ ]530 HABEAS CORPUS

[ ]535 DEATH PENALTY

[ ]540 MANDAMUS & OTHER

PRISONER CIVIL RIGHTS

{ ]550 CIVIL RIGHTS
[ ]555 PRISON CONDITION
[ ] 560 CIVIL DETAINEE

LABOR

[ ]710 FAIR LABOR
STANDARDS ACT

[ 1720 LABOR/MGMT
RELATIONS

[ ]740 RAILWAY LABOR ACT

[] 751 FAMILY MEDICAL
LEAVE ACT (FMLA)

[ ] 790 OTHER LABOR
LITIGATION
[ ] 791 EMPL RET INC

m Rts under US Const. and pendant state law claims

& Case No.

ACTIONS UNDER STATUTES

BANKRUPTCY

[ ]422 APPEAL
28 USC 158

[ 1423 WITHDRAWAL
28 USC 157

PROPERTY RIGHTS

[ ] 820 COPYRIGHTS
[ 1830 PATENT
| [840 TRADEMARK

SOCIAL SECURITY

| ] 861 HIA (1395ff)

{ ]862 BLACK LUNG (923)

| | 863 DIWC/DIWW (405(g))
[ ] 864 SSID TITLE XVI

{| ] 865 RSI (405(q))

FEDERAL TAX SUITS

[ ] 870 TAXES (U.S. Plaintiff or
Defendant)

[ ] 871 IRS-THIRD PARTY
26 USC 7609

SECURITY ACT (ERISA)

IMMIGRATION

[ ] 462 NATURALIZATION
APPLICATION

[ ]465 OTHER IMMIGRATION
ACTIONS

CONDITIONS OF CONFINEMENT

OTHER STATUTES
375 FALSE CLAIMS

i | 400 STATE
REAPPORTIONMENT

]410 ANTITRUST

430 BANKS & BANKING

1450 COMMERCE

| 460 DEPORTATION

| 470 RACKETEER INFLU-
ENCED & CORRUPT
ORGANIZATION ACT
(RICO)

[ ]480 CONSUMER CREDIT

[ ]490 CABLE/SATELLITE TV

[
L
[
I
[

({ ] 850 SECURITIES/
COMMODITIES/
EXCHANGE

[ ]890 OTHER STATUTORY
ACTIONS
[ ]891 AGRICULTURAL ACTS

[ ] 893 ENVIRONMENTAL
MATTERS
[ ] 895 FREEDOM OF
INFORMATION ACT
[ ] 896 ARBITRATION
[ ] 899 ADMINISTRATIVE
PROCEDURE ACT/REVIEW OF
APPEAL OF AGENCY DECISIC

[ ] 950 CONSTITUTIONALITY C
STATE STATUTES

OYO S$ CAS ?
PP ao WShAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.?

JUDGE

DOCKET NUMBER

 

NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32
Case 1:15-cv-09326-WHP Document 2 Filed 11/25/15 Page 2 of 2

(PLACE AN x IN ONE BOX ONLY) ORIGIN
1 Original oO 2 Removed from | 3 > Remanded C] 4 Reinstated or LE] 5 Transferred from CT] 6 Multidistrict im 7 Appeal to District
Proceeding State Court from Reopened (Specify District) Litigation Judge from
Appellate Magistrate Judge
[| a. all parties rapresented Court Judgment

E] b. Atleast one

Party is pro se.

(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE

(1 U.S. PLAINTIFF (]}2 U.S.DEFENDANT [_] 3 FEDERAL QUESTION C14 DIVERSITY CITIZENSHIP BELOW.
(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE []1 []1 CITIZEN OR SUBJECT OF A []3[]3 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE [ ]4[]4 FOREIGN NATION []6 []6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Renee Melendez, 441 East 116th Street, Apt 2D, New York, NY 10029

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

City of New York, 100 Church Street, New York, NY 10007; Marie D'Angelo, 198 E. 161st Street, Bronx,
NY 10451; NY Community Financial, LLC, Community Financial Service Center (CFSC), The Check
Cashing Place, Anthony Guzzi, Michael Hoffer, Frank Phipps, Maira Peralta at 560 Sylvan Ave,
Englewood Cliffs, NJ 07632-3108; Marina B. Melvin, 751 E. 161st Street, 8A, Bronx, NY 10456; Daphne
Rodriguez, 525 Rosedale Ave., 2G, Bronx, NY 10473

DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
RESIBENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

Check one: THIS ACTION SHOULD BE ASSIGNED TO: [_] WHITE PLAINS [x} MANHATTAN
(DO NOT check either box if this a PRISONER PETITION/PRISONER CIVIL RIGHTS

COMPLAINT.)
DATE 11/25/15 SIGNATURE OR\ATTORNEY OF. RECORD ADMITTED TO PRACTICE IN THIS DISTRICT
( ~ [ ] NO
Yn [ YES (DATE ADMITTED Mo.Oct____ Yr, 2003)
RECEIPT # Re Attorney Bar Code # yk3822
Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

 

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
